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    FILED & JUDGMENT ENTERED
           Steven T. Salata


             May 13 2024


      Clerk, U.S. Bankruptcy Court
     Western District of North Carolina
                                                                          _____________________________
                                                                                   J. Craig Whitley
                                                                            United States Bankruptcy Judge




                         UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

In re:                              )
                                    )
   JOHNNY MARCANO                   )                           Case No. 24-30108
                                    )                           Chapter 7
                        Debtor.     )
____________________________________)


  ORDER DENYING PRO SE DEBTOR’S APPLICATION FOR ATTORNEY’S FEES


         THIS MATTER is before the Court on the pro se Debtor’s Application for

Compensation filed May 7, 2024. The Debtor, who is not a licensed attorney, seeks $260,000 in

attorney’s fees awarded to himself under “General Statute 6-21.6,” which he reports awards

attorney’s fees to the prevailing party of a contract dispute. He rationalizes this recovery because

“[a]ll of the companies named in the Bankruptcy case were all in a contract with JOHNNY

MARCANO[sic] and have all violated the security regulations put in place to protect the

Consumer (G.S.78A-56).” It is unspecified as to which party he is expecting will pay this sum.

Furthermore, the motion did not include a notice of hearing.

         The Debtor cannot recover attorney’s fees in his own bankruptcy case. Generally, a pro

se litigant who is not a lawyer is not entitled to attorney’s fees, even under a fee-shifting statute.
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See e.g., Bond v. Blum, 317 F.3d 385, 398-99 (4th Cir. 2003), modified by sub nom Kirtsaeng v.

John Wiley & Sons, Inc, 579 U.S. 1979 (2016); see also In re Shumate, 1991 WL 426462 at *3-4

(W.D. Va. 1991) (finding pro se Debtor could not award himself compensation under 11 U.S.C.

§§ 330:550 due to lack of authorization by Trustee or Court and a lack of benefit to the estate)

aff’d 976 F.2d 727, 1992 WL 245850 (4th Cir. 1992)(unpublished). Even an attorney cannot be

awarded compensation awards from estate funds unless they are “employed by the trustee and

approved by the court.” Lamie v. U.S. Trustee, 540 U.S. 526, 538-39 (2004). Finally, an

application for compensation may only be granted after notice of a hearing or opportunity for

hearing. Local Rule 9013-1. This motion was not properly noticed, the Debtor is not a licensed

attorney, the Debtor has provided no services benefitting the estate, and the Debtor was not

employed or approved by the Trustee and Court. The Debtor has no basis to recover attorney’s

fees. For these reasons, the Debtor’s application for compensation is DENIED.

       SO ORDERED.


This Order has been signed electronically.                 United States Bankruptcy Court
The Judge’s signature and Court’s seal
appear at the top of the Order.




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